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1                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEVADA
2
       UNITED STATES OF AMERICA,   )      Case No. 2:09-cr-262-JCM-GWF
3                Plaintiff,        )
                                   )      ORDER TEMPORARILY UNSEALING
4         vs.                      )      TRANSCRIPT
       ALFONSO RIVERA-AVALOS (1), )
5                Defendant.        )
       ____________________________)
6

7            On June 16, 2014, Katherine Eismann, Official Court

8      Transcriber, received a Transcript Order from Alina M. Shell,

9      counsel for defendant, requesting a transcript of the sealed

10     hearing October 26, 2009, in the above-entitled matter.

11           IT IS THE ORDER OF THE COURT that the sealed hearing shall

12     be unsealed for the limited purpose of providing a copy of the

13     transcript as requested by Alina M. Shell.

14           IT IS FURTHER ORDERED that the sealed hearing shall

15     thereafter be resealed and a certified copy of the transcript

16     be delivered to the Clerk pursuant to 28, U.S.C., Section 73(b)

17     and remain sealed until further order of the Court.

18           IT IS FURTHER ORDERED that the receiving party shall not

19     disclose the sealed contents of the transcript to anyone other

20     than the representatives of the parties directly concerned with

21     this case.

22                 June 25,
             DATED this     2014.
                         ____  day of ____________ 2014.

23
                                       __________________________
24                                     JAMES C. MAHAN
                                       United States District Court Judge
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